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                              Exhibit Page 1 of 3




                         EXHIBIT B
        Case 2:19-bk-14989-WB           Doc 609-3 Filed 02/19/20 Entered 02/19/20 17:59:56                        Desc
                                              Exhibit Page 2 of 3



From:                              Esterkin, Richard W. <richard.esterkin@morganlewis.com>
Sent:                              Monday, February 17, 2020 6:06 PM
To:                                Jennifer Nassiri
Cc:                                Fitzpatrick, A. Klair; Diamantatos, Tinos; Eric Winston; Crystal Nix-Hines; Becca Davis;
                                   Karen Bobrow; 'JSimon@foley.com'; BNelson@foley.com; amcdow@foley.com
Subject:                           RE: SCBZ-Follow up from C. Richardson's deposition


                                                      [EXTERNAL EMAIL]


Jennifer:

Amazon will not produce the documents that you requested in your February 14 email.

First, I have obtained a copy of the DSP Non-Compliance Enforcement Policy from our client. Upon review, we have
determined that it is a confidential attorney client privileged communication. The document was developed by counsel,
contains the advice of counsel, describes the role of counsel in various situations, and is labeled on the face of the
document as Privileged & Confidential. In addition, it is non-responsive to Hillair’s document requests, as limited by
Amazon’s objections and responses and as discussed in the parties’ meet and confer, as it does not relate to routes,
assignment of the Amazon contract or the termination of the Amazon contract as it relates to Scoobeez, since Scoobeez
was not selected for exit due to a violation of Amazon’s compliance policies, but because of its history of wage/hour
litigation.

Your request for documents related “to the number an percentage of drivers absorbed in an exit” is uncertain as you do
not specify the “exit” or “exits” to which the request refers or the operative date range. It is also irrelevant to the issues
raised by Amazon’s motion to modify the stay and beyond the scope of Hillair’s document requests.

Please feel free to reach out, if you would like to discuss these matters further.

Richard W. Esterkin
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Richard.Esterkin@morganlewis.com | www.morganlewis.com
Assistant: Renee Robles | +1.213.612.7321 | Renee.Robles@morganlewis.com


From: Jennifer Nassiri <jennifernassiri@quinnemanuel.com>
Sent: Friday, February 14, 2020 11:36 AM
To: Esterkin, Richard W. <richard.esterkin@morganlewis.com>
Cc: Fitzpatrick, A. Klair <klair.fitzpatrick@morganlewis.com>; Diamantatos, Tinos
<tinos.diamantatos@morganlewis.com>; Eric Winston <ericwinston@quinnemanuel.com>; Crystal Nix-Hines
<crystalnixhines@quinnemanuel.com>; Becca Davis <beccadavis@quinnemanuel.com>; Karen Bobrow
<karenbobrow@quinnemanuel.com>; 'JSimon@foley.com' <JSimon@foley.com>; BNelson@foley.com;
amcdow@foley.com
Subject: SCBZ-Follow up from C. Richardson's deposition

[EXTERNAL EMAIL]
Richard,
                                                              1
      Case 2:19-bk-14989-WB          Doc 609-3 Filed 02/19/20 Entered 02/19/20 17:59:56                 Desc
                                           Exhibit Page 3 of 3

As a follow up to Ms. Richardson’s deposition yesterday, please produce the DSP Non Compliance Enforcement Policy
the Transportation Risk & Compliance group developed in 2019 and any drafts of the same. In addition, please produce
any and all documents related to the number and percentage of drivers absorbed in an exit. We would like these
documents as soon as possible.

Thanks.
Jennifer

Jennifer Nassiri
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